                  Case 2:25-mj-30313-DUTY ECF No. 1, PageID.1
                                               AUSA:             Filed 05/13/25 Telephone:
                                                        Douglas Salzenstein      Page 1 of(313)
                                                                                            43 226-9100
AO 91 (Rev. ) Criminal Complaint                Special Agent:         Michael Wagner               Telephone: (313) 965-2323

                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Eastern District of Michigan

United States of America
   v.
Ammar Abdulmajid-Mohamed Said                                                Case No.        2:25-mj-30313
                                                                                             Judge: Unassigned,
                                                                                             Filed: 05-13-2025 At 05:20 PM
                                                                                             CMP USA V. AMMAR ABDULMAJID-
                                                                                             MOHAMED SAID (DA)



                                                       CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

          On or about the date(s) of            June 2024 through May 13, 2025      in the county of      Wayne and Macomb    in the
        Eastern          District of        Michigan          , the defendant(s) violated:
                    Code Section                                             Offense Description
18 U.S.C. § 2339B(a)(1)                                    attempting to provide material support and resources to a
                                                           designated foreign terrorist organization


18 U.S.C. § 842(p)(2)                                      distributing information related to a destructive device/explosive




          This criminal complaint is based on these facts:
See Affidavit




✔ Continued on the attached sheet.

                                                                                             Complainant’s signature

                                                                        Michael Wagner , Special Agent - FBI
                                                                                              Printed name and title

Sworn to before me and signed in my presence.

          May 13, 2025
Date:                                                                                           Judge’s signature

City and state:    Detroit, Michigan                                    Elizabeth Stafford, United States Magistrate Judge
                                                                                              Printed name and title
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                                   AFFIDAVIT

      I, Michael Wagner, being first duly sworn, hereby state as follows:

      1.     I am a Special Agent with the FBI, and have been since December

2022. I received training in investigative techniques and procedures at the FBI

Academy in Quantico, Virginia, and have employed these techniques and

experiences to investigate a wide array of crimes. As a federal agent, I am

authorized to investigate violations of laws of the United States, and as a law

enforcement officer, I am authorized to execute arrest warrants issued under the

authority of the United States.

      2.     This affidavit is made in support of a criminal complaint and arrest

warrant alleging that Ammar Abdulmajid-Mohamed Said (“SAID”) has violated

18 U.S.C. § 2339B(a)(1) by attempting to provide material support and resources

to ISIS, a designated foreign terrorist organization (“FTO”); and 18 U.S.C. §

842(p)(2) by distributing information related to a destructive device/explosive, i.e.,

a Molotov cocktail containing certain added components to a person knowing and

intending that such person intended to use the information for and in furtherance of

a federal crime of violence, such as 18 U.S.C. § 1114 (killing or attempting to kill

officers or employees of the United States).



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      3.    SAID is a 19-year-old U.S. citizen who resides in Melvindale,

Michigan. In or about September 2022, SAID enlisted in the Michigan Army

National Guard and attended initial Basic Training at Fort Moore, Georgia. After

completion of the initial training, SAID reported to Michigan Army National

Guard Taylor Armory. SAID was discharged from the Michigan Army National

Guard in or about December 2024.

      4.    As described below, SAID attempted to provide material support and

resources, namely, personnel (himself), materials (including ammunition), and

services, including assistance and training, to an FTO, namely, ISIS. During the

course of an undercover FBI investigation, SAID introduced and discussed a plan

he had personally devised and formulated to conduct an armed attack and mass-

shooting on the U.S. Army’s Tank-Automotive & Armaments Command

(“TACOM”) facility at the Detroit Arsenal in Warren, Michigan. In April 2025,

when FBI undercover personnel, purporting to be fellow ISIS supporters, indicated

to SAID that they intended to carry out SAID’s planned attack at the direction of

ISIS, SAID provided assistance to the attack plan he originally devised—one that

he believed would result in the death of many American citizens—including

operational reconnaissance and surveillance of TACOM, including through the use

of an aerial drone; providing ammunition and magazines SAID understood would



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be used during the attack, including “armor piercing” ammunition; training

regarding the use of a firearm and construction of Molotov cocktails that SAID

understood would be used during the course of the attack; and planning, guidance

and military expertise with respect to execution of the attack. The purported attack

was notionally scheduled to take place at or around 10:00 am on Tuesday, May 13,

2025.

        5.   On May 13, 2025, SAID, who was dressed in black clothing, arrived

at the park in Dearborn, Michigan as planned. He and UCE-1 drove from the park

to the preselected location near the TACOM facility. Approximately ten minutes

before they arrived, UCE-1 called UCE-2 and let UCE-2 know that UCE-1 and

SAID would be arriving soon. SAID and UCE-1 ultimately arrived at the location

they previously designated near TACOM and parked their vehicle. UCE-1 then

called UCE-2 and let him/her know that they arrived and SAID launched his drone

for purposes of aerial surveillance before the attack. Law enforcement arrested

SAID shortly after he launched the drone. At the time of SAID’s arrest, UCE-1

was still on the phone with UCE-2.

        6.   This affidavit is based on: (a) my personal knowledge, training, and

experience; (b) information I have received from other law enforcement personnel

and from persons with knowledge regarding relevant facts; and (c) consensually



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monitored and recorded communications with the FBI undercover personnel

referenced below. Because this affidavit is being submitted only to establish

probable cause to believe that SAID committed the offenses alleged in the

complaint, I have not included each and every fact known to me concerning this

investigation.

                              PROBABLE CAUSE

ISIS is a Designated Foreign Terrorist Organization

      7.    On or about October 15, 2004, the U.S. Secretary of State

(“Secretary”) designated al Qaeda in Iraq (“AQI”), then known as Jam’at al

Tawhid wa’al-Jihad, as a Foreign Terrorist Organization (“FTO”) under section

219 of the Immigration and Nationality Act (“INA”) and as a Specially Designated

Global Terrorist (“SDGT”) under section 1(b) of Executive Order 13224. On or

about May 15, 2014, the Secretary amended the designation of AQI as a FTO

under Section 219 of the Immigration and Nationality Act and as a Specially

Designated Global Terrorist entity under section 1(b) of Executive Order 13224 to

add the alias Islamic State of Iraq and the Levant (“ISIL”) as its primary name. The

Secretary also added the following aliases to the FTO listing: the Islamic State of

Iraq and al-Sham (i.e., “ISIS”—which is how the FTO will be referenced herein),

the Islamic State of Iraq and Syria, ad-Dawla al-Islamiyya fi al-‘Iraq wa-sh-Sham,



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Daesh, Dawla al Islamiya, and Al-Furqan Establishment for Media Production. On

or about September 21, 2015, the Secretary added the following aliases to the FTO

listing: Islamic State, ISIL, and ISIS. On or about March 22, 2019, the Secretary

added the following aliases to the FTO and SDGT listings: Amaq News Agency,

Al Hayat Media Center, Al-Hayat Media Center, and Al Hayat. To date, ISIS

remains a designated FTO.

SAID’s Expressed Desire for Martyrdom and Pledge of Loyalty to ISIS
      8.    As described in more detail below, beginning in or about June 2024,

SAID communicated with an individual SAID understood to be a fellow ISIS

supporter, but who was actually an FBI Undercover Employee (“UCE-1”). During

the course of their interactions, which were audio- and/or video-recorded, SAID

described his longstanding desire to engage in violent jihad, either by traveling to

ISIS-held territory abroad or by carrying out an attack in the United States.

      9.    On July 18, 2024, FBI agents executed a search warrant for SAID’s

iPhone by performing a covert search of that device (with delayed notification)

when SAID provided it to personnel with the Michigan Army National Guard prior

to boarding a military aircraft. During that search, FBI agents identified a

Facebook message exchange (in Arabic) that took place on or about October 5,

2023, between SAID and another Facebook user located in the Palestinian

territories. In that Facebook message exchange, SAID stated, “I want to go for

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Jihad,” and the other Facebook user replied, “Talk to me on Telegram.” 1 Agents

also determined during the search that SAID was a member of multiple channels in

the encrypted messaging application Telegram, one of which contained videos and

images with ISIS flags. Agents also identified a search for “ISIS Nasheed’s I like” 2

on or about May 18, 2024, in SAID’s Safari internet search engine browsing

history.

      10.    In August 2024, UCE-1 introduced SAID to someone purporting to be

an associate of UCE-1, who was actually an FBI Confidential Human Source (the

“CHS”). UCE-1 told SAID that the CHS had connections to ISIS and could

facilitate SAID’s travel to ISIS-held territory abroad. During an in-person recorded

meeting on August 1, 2024, with UCE-1 and the CHS in which they communicated

in both English and Arabic, SAID indicated that he was “fed up with this country

and forbidden stuff everywhere” and “so, by God, I want to go for jihad. Go to

fight among the Muslims and raise the word of God and that’s it. My last intention




      1
        The Arabic-to-English transcriptions contained herein are based on
preliminary FBI translations.
      2
        Based upon training and experience, your affiant knows that a nasheed is a
type of vocal chant popular in Sunni culture. Over the past several decades, nasheeds
have also been used by ISIS and other FTOs to spread propaganda.

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is martyrdom for the sake of God.” The CHS told SAID that if he traveled abroad

for jihad, he could die, to which SAID responded, “Exactly, even if I martyr, this

is, this is the goal; martyrdom is the goal, it’s either victory or martyrdom.” SAID

also described the training he received with the Michigan Army National Guard—

to include firearms, grenade throwing, and land navigation—and his ability to

disassemble and reassemble an AR-15/M4 style rifle with his eyes closed.

      11.      During a subsequent recorded meeting with UCE-1 on August 27,

2024, SAID played a video on his cellular phone that depicted SAID performing a

“bayah” pledge of loyalty to the “Chalifa” of ISIS (Abu Hafs Al-Hashimy Al-

Qurayshi). 3




      3
        “Chalifa” or “Khalifah” is a term often used by ISIS supporters to describe
the self-proclaimed leader of ISIS.

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        [screenshot of video in which SAID pledges loyalty to the Chalifa of ISIS]

      12.   During a September 5, 2024, recorded meeting with UCE-1 and the

CHS, SAID acknowledged that the enemies of ISIS included individuals other than

military soldiers, including Jews, Americans, tourists and other Muslims. SAID

affirmed that he did not have a problem with targeting these groups.

SAID Prepares for His Planned Attack on TACOM in November 2024
      13.   On October 26, 2024, SAID sent UCE-1 a text message stating, “…I

was thinking if we made a new startgey (sic)…I was thinking of attacking the base



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this time. I thought about it a while ago but I wasn’t sure. But last night I really

thought about it so j (sic) wanted to talk to you first.”

      14.   During subsequent recorded meetings with UCE-1 and another FBI

Undercover Employee (“UCE-2”) in November 2024, SAID discussed his plan for

attacking TACOM, which SAID indicated he had visited previously during his

time in the Michigan National Guard. SAID also took steps during these November

2024 meetings with UCE-1 and UCE-2 to prepare for his planned attack, including

by flying an aerial drone over TACOM to identify entry points and potential

targets; visiting stores to inspect firearms and military uniforms; purchasing glass

bottles, and two other potential components as ingredients for Molotov cocktails;

and providing instruction to UCE-1 and UCE-2 on military-style tactics.

      15.   SAID met with UCE-1 on November 6, 2024, and first raised his plan

of attacking a military base in Michigan rather than traveling overseas to commit

jihad. At the end of the meeting. SAID stated that if he were to travel for jihad,

they would only get to “kill two, three, four other soldiers, but over here [in the

United States], it’s like, it’s a dream.”

      16.   On November 8, 2024, SAID met with UCE-1 and described his plan

for attacking TACOM. SAID stated that he and UCE-1 could attempt to enter the

gate leading to the TACOM facility with SAID’s military ID or, referencing his



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intent to attack guards and/or military personnel on the base, “we could just take

them out from the door or the gate, and make our way in.” SAID also described

possibly gaining entry to TACOM by cutting through a barbed wired fence near a

storage unit located next to the base where TACOM is housed. SAID also stated,

“let’s say we can knock out the first two [soldiers] when we get in, that’s two less

we have to worry about that are armed.”

      17.    At their next recorded meeting on November 13, 2024, UCE-1

introduced SAID to UCE-2. UCE-1 told SAID that UCE-2 planned to travel to

Sudan and SAID stated to UCE-2, “I was talking to [UCE-1] a while ago and I’m

at the same stage you are right now, too.” SAID indicated that he was interested in

traveling to Egypt to fight but then stated, “I don't know if I should go there? Of

course I’m going to be fighting, but how many soldiers will I kill? Cause they’re

doing some real damage, you know the military bases here.” SAID stated that he

had spent a year and a half in the U.S. military and that, “I did it for the training. I

wanted to train so that I know what I’m doing, I know how they think, and how

they act, you know. I wanted to get military training before I just go somewhere.

I’m fully dedicated...”

      18.    SAID then discussed his plan to attack TACOM and stated, “Of

course it’s going to be, it’s going to be a hell of a fight, you know, a process, you



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know. I took it to a point, you know, I went to the base itself, the first time I

actually got my [military identification] card there, and then the second, third time,

just looking around seeing if I ever were to do it what would I do, how would I do

it you know.” Later during this same interaction, SAID stated, “I was going to do

this a long time ago, by myself right…I went to the thrift store…I bought seven

magazines fully loaded, 300 rounds and uh what’s it called, I bought those and I

was gonna get an AR rifle.” SAID further explained that he attempted to purchase

a rifle at that time, but was told he was unable to because he was then only 17. As

detailed below, SAID later provided multiple magazines, along with armor-

piercing ammunition, to the UCEs on May 8, 2025, for use in an attack on the

TACOM facility.

      19.    After discussing the security arrangements at TACOM, SAID also

stated, “it’s a military base, I just want you to know this, this is, there’s no coming

out. It’s a one-way entrance,” presumably acknowledging that he would likely be

captured or killed in an attack. SAID also used Google Maps on his iPhone to

retrieve and display a picture of the storage unit next to the base for UCE-1 and

UCE-2, from which SAID stated that he and they could breach the surrounding

fence line and enter. SAID pointed out a large structure on the map, stating that it

was the “target.”



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      20.    SAID also discussed his view of ISIS, stating, “You know growing up

as a kid I swear to God I used to think that ISIS was the worst, you know, type of

people. I used to think that they were horrible. I used to tell my friends, they [ISIS]

don’t represent Islam. They are terrorists and whatnot…propaganda. All I seen was

propaganda. And you know when I looked at it from the other perspective, I swear

to God, you know just looking at their face, you know beards, they’re reading the

Quran, they’re doing this such and such, helping the people. You know when ISIS

controlled Iraq and part of Syria right? When they had the capital in Mosul. People

used to leave their shops open, you go to pray and come back and nothing was

stolen. The masjids would be full, everyone would help each other out right. And

when then they took over you know of course they said, ‘oh we don't like the

dawlah’ and ‘we don't like ISIS because such and such,’ you know. Cause if you

say ‘oh we like ISIS’ they are gonna kill you, straight up.”

      21.    Two days later, on November 15, 2024, SAID met with UCE-1 and

UCE-2 again at a park. SAID discussed how they should prepare for the attack

they had discussed at their previous meeting: “Preparing is probably two ways. Get

familiar with guns, you know, AR, go to the range, practice on them, I mean,

they’re not hard, it’s really not hard, you just aim and shoot.” SAID then drove

again with UCE-1 and UCE-2 to TACOM, where SAID pointed out one of the



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entrances to the base, then SAID directed UCE-1 to drive to a commercial storage

facility nearly adjacent to the base and pointed out another entrance. SAID

discussed entering the base near the storage facility, stating, “honestly, if we

wanted to, I mean it’s a perfect, there’s a storage unit, we can even store guns and

stuff there.”

      22.    SAID also discussed the potential for using Molotov cocktails in the

attack: “…so, if we wanted to, what’s it called, shoot ‘em and go inside, we can,

you know, throw a Molotov, cause it’s fire, right? And one cool thing is if you mix

Molotov with [a component]…” UCE-2 interjected, “Napalm,” and SAID

responded, “Napalm, exactly. It will burn. If it gets on you, shit. If you want to

fuck it up even more add [a different component]. It will melt into your skin.

Molotov by itself, it will catch fire but it will turn off pretty quick, but, like you

said, if you add [the first component], it becomes a Napalm, which means it will

stay on fire.”

      23.    Before they left TACOM, SAID stated, “So like, if we were to lay out

what we have so far. We’ll go from the storage unit, we’ll have, storage, weapons,

everything there. Honestly, what we could do is, the day that we’re trying to attack,

right. We could try to go on the base first with our IDs. If they let us, then we go

back outside and we grab the weapons and everything, and then we go back in,



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right, with the IDs. If they say anything, then you know, we’ll take care of that, and

then we go inside. Once we’re inside, we can just, what’s it called, we can drive

off to that building real quick and then we make a, you know, reach for it.”

      24.    SAID, UCE-1, and UCE-2 discussed what kind of weapons SAID

thought they would need to conduct the attack and SAID suggested AR-15s. SAID

also stated, “I have empty magazines because I used the ammo at the range.” SAID

described a shop where it was possible to purchase ammo at discounted prices and

suggested going to the shop. SAID suggested telling the gun shop owner they were

interested in purchasing guns for hunting and that the store owner “won’t even

think about it twice. You know when I went the first time to buy an AR with 300

rounds, seven magazines, he didn’t give a shit. He didn’t ask questions. He didn’t

ask why or anything.”

      25.    Eventually, SAID drove with UCE-1 and UCE-2 to a pawn shop

where SAID asked an employee, “What are some good ARs you guys have?” A

store attendant allowed SAID to inspect an AR style rifle and an AR style pistol.

Once leaving the pawn shop, SAID, UCE-1, and UCE-2 discussed other items to

purchase for the attack and drafted a written list. UCE-2 asked SAID whether

SAID had magazines, to which SAID responded, “Yeah, I got seven,” and stated,




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“I recommend everyone have about seven magazines because you don’t want to be

in there and run out of ammo.”

      26.   On November 22, 2024, SAID met with UCE-1 and UCE-2 again.

UCE-1 told SAID that UCE-1 talked to the CHS and advised that, “The brothers

are happy”—i.e., approved the attack plan—and were going to provide support for

SAID’s planned attack. UCE-1 also told SAID that UCE-1 had used money the

brothers, i.e., ISIS, provided to rent a storage unit near the base that they had

visited before, to which SAID responded, “perfect.” UCE-1 informed SAID that

the CHS and “the brothers” had the ability to obtain fully-automatic weapons, but

that they would not provide them until closer to the attack. SAID stated, “That

sounds good as fuck, especially fully-automatic.”

      27.   SAID, UCE-1, and UCE-2 then visited an Army surplus store to look

at military-style uniforms before driving back to the storage unit next to TACOM.

While in the army surplus store, UCE-1 and UCE-2 purchased appropriate military

uniforms at SAID’s direction (SAID already had uniforms as a result of his service

in the Michigan Army National Guard). On the way from the army surplus store to

TACOM, they stopped at a gas station where SAID purchased glass bottle drinks,

and two other components to be used for the Molotov cocktails he had previously

described. SAID also discussed the timing of the attack and the need to obtain



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firearms: “Regarding the ARs, we need, I would say try to get them as soon as

possible…Just, I would say just, to bring ‘em as soon as possible, that way we

could at least practice with them, we could have ammo and magazines too. The

three biggest pieces we’re missing right now is ARs, we’re missing the magazines,

the ammo. That’s the three biggest pieces, right? And then, we also need to just get

familiar with them, and I show you how to use ‘em, practice with them at the

range.” SAID had been previously informed that UCE-1 and UCE-2 had no prior

military experience or training.

      28.   Once SAID, UCE-1, and UCE-2 arrived at the storage unit next to

TACOM, SAID began to fly his drone, operating it with a controller attached to his

cellular phone, which also displayed live video from the drone’s camera. SAID

piloted the drone to the front gate of TACOM and stated: “That’s where the guards

are.” SAID also directed the drone camera at a creek that ran near the fence that

separated the storage unit from TACOM and he discussed traversing through the

water. Thereafter, SAID used the drone to surveil other entry points and vehicles

entering and exiting the base. SAID stated: “Perfect, perfect. See there’s a car

going in too, so it’s gonna have to go through the checkpoint.” Next, SAID stated

that he would pilot the drone higher in the air in order to fly over TACOM. SAID

stated: “Alright get ready to do some illegal shit” as he flew over TACOM. SAID



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pointed to the video feed from the drone’s camera and detailed his plan to enter

and attack: “So entrance. This is the entrance right here, right?...Once we go in this

is gonna be the road we’re takin—if it’s the main entrance right. We’re gonna go,

that's the main entrance this way. Last I remember there was a cop sometimes over

here, and he’ll be around this area…I don’t see him there this time, but he was here

last time. Last time I was there. Anyway, so, we go in straight that way, target

building is this right here…”

      29.    SAID continued to orient the drone around TACOM and narrated his

observations aloud: “That’s where they work on the tanks I’m sure, see—they’re

working on them right now. Honestly if you want, here’s an idea we can go for this

first cause usually the doors are open and we can just go right in. Same thing with

the other building too.” UCE-1 responded, “You’ve been there, whatever you think

is the best one, you know?” SAID stated, “I think this is better because there’s not

much entrances to it, unlike that building…And once we go up, we can, you know,

shoot up from the windows.” UCE-1 stated, “cause we’ll be up higher than them

and we use the drone” and SAID responded, “Exactly—we can see these guys

coming in. Bro we can see them coming in, we can shoot at them from there, at the

same time we can hold hostages too.”




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      30.    After piloting the drone back to the storage unit, SAID instructed

UCE-1 and UCE-2 on tactical movements and they practiced entering and clearing

a room. Once SAID led UCE-1 and UCE-2 through a series of drills, SAID stated,

“of course anything you see, shoot it.”

      31.    SAID also described how to assemble a Molotov cocktail: “All we

need is gas, poke a hole in it, put that shirt in there. Of course can get…gas,

Styrofoam, mix it in there and then uh shirt, anything, so once we light it up of

course we’ll have to soak the top of it as well with gasoline. So let’s say, what I’m

thinking is we’re gonna have a bag, I, mine, whoever that has a bag carry these in

there any time, let’s say uh, we go in there, we’re gonna do as much damage as

possible. When we, once the area’s clear, once the room’s clear…throw it in

there…”

      32.    Near the conclusion of their meeting on November 22, 2024, SAID

and UCE-2 watched a training video SAID displayed on his iPhone. The video

included discussion regarding drawing weapons against potential threats, during

which SAID stated, “For us, whether they’re armed or not, it’s shoot-to-kill.”




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SAID Discusses Traveling to Syria Following the Fall
of Damascus to Syrian Rebel Forces in December 2024
      33.      On December 8, 2024, Syrian rebel forces seized Damascus and

former Syrian President Bashar al-Assad fled to Russia. Shortly thereafter, public

reports indicated that Israel had launched strikes against certain targets in Syria.

      34.      The following week, during a recorded meeting with UCE-1 and

UCE-2 on December 13, 2024, SAID indicated that “my emotions are like on top,

especially if you [UCEs] have been watching the news.” SAID then stated that he

had a dream in which he was praying in a masjid and asked the man leading the

prayer, “Where’s this jihad? Where—where’s the—where do we go for jihad?”

and the man in his dream responded, “Sham.” 4 SAID stated that he discussed this

dream with a friend and then stated that based on that dream, “I think I’m going to

Syria.” UCE-1 asked SAID if SAID had booked a ticket, to which SAID replied,

“no, but I’ll book it, you know. I wanted to talk to you first cause, you know, you

know people over there, but it’s up to you [UCEs] if you want to continue with this

[TACOM attack]. If you do, I’ll support you with everything that I can. If not, you

know, it’s completely up to you…You know I was, I was fully going for that plan,




      4
          “Sham” refers to the greater region of Syria, often referred to as the Levant.

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until I had that dream.” UCE-1 responded that, “I want you to be on your decision”

and offered to “call the brothers” in Syria if SAID was committed to traveling.

SAID stated, “And I don’t want you guys to think that I’m backing away from

this…Until you know, I had that dream out of nowhere.”

      35.   SAID stated that he was “a hundred percent” and “dead set” on

traveling to Syria and that he would purchase an airline ticket soon. SAID also

indicated that his friend wanted to travel with him. SAID stated that “You know,

he [SAID’s friend]—he’s the one motivating, I seen him motivating me to go.”

UCE-1 asked whether SAID’s friend understood the purpose of the planned travel

and SAID responded, “he knows about the Dawlah—he is a supporter of the

Dawlah.”5 UCE-1 also asked SAID whether his friend understood that he would be

killing American soldiers and SAID replied, “He wants to. He knows they’re bad,

he wants to…If he had the opportunity, he wouldn’t think it twice.” UCE-1

proposed that SAID and UCE-2 travel together to Syria and SAID told UCE-2, “I

don’t want to force you to do anything…me personally, I’m ready to go.”




      “Dawlah” is an Arabic term for “the state” and is used by ISIS members and
      5


sympathizers to refer to ISIS. As noted above, ad-Dawla al-Islamiyya fi al-‘Iraq wa-
sh-Sham and Dawla al Islamiya are designated aliases of ISIS.

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      36.   UCE-1 then showed SAID an ISIS flag that UCE-1 represented was

from a “brother” in Syria and suggested that if SAID was committed, they should

record a video to show “the brothers.” SAID then showed UCE-1 a “speech” on his

phone that SAID indicated he had prepared. After discussing potential flights,

other travel arrangements, and certain items that SAID might bring to Syria, UCE-

1, UCE-2, and SAID drove to the storage locker adjacent to TACOM where UCE-

1 video-recorded SAID delivering a message in Arabic in front of the ISIS flag

UCE-1 brought. A still image from that video is included below:




             [screenshot of SAID’s recorded message in front of ISIS flag]

      37.   Later in the evening of December 13, 2024, SAID met with UCE-1

and UCE-2 again. UCE-1 and UCE-2 told SAID that they had found an Apple

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AirTag tracking device in their car following their earlier meeting with SAID.

SAID acknowledged leaving the AirTag and indicated that he wanted to determine

if UCE-1 and UCE-2 were actually law enforcement. UCE-2 asked SAID if he was

“getting cold feet” and whether “he wanted to walk out,” to which SAID

responded, “No. No. I’m not gonna back [out]…I’m going for this….but the thing

is like I said, I just want to make sure, what’s it called? I—you know—you [UCEs]

are who you are—say you are…I don’t wanna go to the airport and then—just get

arrested over there…” UCE-2 and UCE-1 asked SAID if this was his “way to back

out” and SAID responded, “No, no…I could back out right now…You told me,

‘No one’s gonna force you’….And I want—the thing is, I want to go. No one’s

forcing me to.”

      38.   On December 15, 2024, UCE-1 sent SAID a screenshot of a flight

confirmation number, with the passenger name scratched out, for non-stop Turkish

Airlines Flight TK206 scheduled to depart at 8:10 p.m. from Detroit Wayne

County Airport (DTW) on December 18, 2024, destined for Istanbul, Turkey. The

time and date of departure for the ticket associated with the confirmation number

shared with SAID aligns with travel plans discussed between UCE-1, UCE-2, and

SAID during the meeting on December 13, 2024. SAID did not respond to the




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screenshot sent by UCE-1 and they did not have any further material contact until

2025, as described further below.

SAID Meets with UCE-1 and UCE-2 in April and May 2025
and Provides Assistance for SAID’s TACOM Attack Plan
      39.      UCE-1 and SAID next exchanged text messages in January and

February 2025. During one of these exchanges, SAID asked, “How is my [UCE-2]

doing.” UCE-1 responded that UCE-2 was doing “well.” SAID asked where UCE-

2 was located and UCE-1 responded that UCE-2 [who UCE-1 previously

represented intended to travel to Syria to join ISIS] “went to the place we talked

about and everything is going good alhamdullah.”6 SAID asked UCE-1, “when did

u last check on [UCE-2]. What is [UCE-2’s] thoughts.” SAID also stated that it

“kills me to think I was gonna go [to Syria]. And find out that this guy [referencing

interim Syrian transitional government President Abu Muhammad al-Jawlani] is

letting Isreal [sic] take territory.” UCE-1 responded that “he,” al-Jawlani, is not

going to last and reminded SAID that “that’s not who our friend is with.”

      40.      On February 20, 2025, UCE-1 sent SAID a text message stating that

UCE-2” “wants to speak with you and I wanted to give [UCE-2] your number but I




      6
          Alhamdullah translates generally to “praise be to God.”

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wanted to ask you first.” SAID responded, “[UCE-2] is here??” and, “Sure, go for

it.”

       41.   On April 8, 2025, UCE-2 contacted SAID by calling him on an online

encrypted communication platform. SAID expressed his happiness at hearing from

UCE-2: “[UCE-2], I can’t believe I’m hearing your voice, this feels so good, walla,

no way.” SAID asked if UCE-2 was in the United States, to which UCE-2 stated

that he/she was not. SAID then asked: “How you been [UCE-2], how was it there

for you?” UCE-2 responded that he/she has found his/her “path” and that he/she

got SAID’s phone number from UCE-1. SAID stated he was “embarrassed” for not

“showing up” and did not have the “courage” to talk to UCE-1 or UCE-2 after

“abandoning” UCE-2. UCE-2 informed SAID that he/she would be returning to the

United States soon, and asked if he/she could contact SAID so that they could

meet. SAID responded: “Absolutely yeah, inshalla,” and then asked, “How was

your trip…How are the brothers? How’s everything?” UCE-2 responded that they

could talk more in person.

       42.   On April 20, 2025, SAID met with UCE-1 and UCE-2 at a coffee

shop in Dearborn, Michigan. SAID asked UCE-2, “You gotta tell me how it was

[UCE-2]… What was it like?” UCE-2 told SAID that UCE-2 had been in Syria and

had received training while there. SAID referenced the current leadership in Syria



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and stated, “...you know, ‘Once we conquer Syria, we’ll make it to Palestine,’ you

know…And where’d that all go?” UCE-1 responded, referencing al-Jawlani,

“...he’s not one of us.” UCE-2 stated that there are many “of us” (referring to ISIS)

who are in prisons or in refugee camps in Syria and SAID responded that he had

watched videos depicting those prisons on Telegram. UCE-2 also stated that things

are “coming together” overseas and that “whatever your issues are in like getting

back at Israel…it’s a matter of time.”

      43.      UCE-1 asked SAID, “What has been going on in your life?,” to which

SAID responded, “Nothing changed about my life…you know, thinking about it

now…I haven’t heard any plans. There’s nothing going- that I know of…there’s no

fighting going on. So, I go there, what am I gonna do?” UCE-1 responded that

there are things going on and UCE-2 added, “Like I said, I can’t get into it, but

there’s a reason the brothers said, ‘Why don’t you go back to the West?’”

      44.      UCE- 2 told SAID that he was smart and capable and that UCE-2 did

not want “whatever happened between us to…kind of, take you off your path.”

SAID responded, “Nah, nah never. What am I going to get out of this dunya? 7




      7
          Dunya translates generally to “earthly world.”

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There’s nothing in this dunya, like, there’s nothing here that I like

anymore…That’s why you know I would think it over one hundred times, making

sure I’m not doing this for any other reason…I ask myself, ‘what am I doing here?’

And if I don’t do it, what if, you know, I always make sure my intentions are right.

That’s the biggest part, intention…Honestly the, the only thing right now is I’m

waiting for the right opportunity. I’m just looking for the right time. Other than

that, you know, I’m still more dedicated than ever. Like I said, the only thing right

now is I’m waiting for the right opportunity.” SAID then stated, “I didn’t go last

time, I didn’t, you know. I knew you were texting me. I was embarrassed. It’s not

like…I backed off and then I go back to my old ways…no, no…Religion is in the

heart.”

      45.    On May 4, 2025, SAID met with UCE-1 in UCE-1’s vehicle. UCE-1

told SAID that “the brothers, Dawlah” agreed that UCE-2 should conduct SAID’s

plan for an attack on TACOM. SAID responded, “I’m all for it, [UCE-1]. Only

thing that sucks is my family is here, [UCE-1].” UCE-1 also stated that the ISIS

leader wanted to show that a “solo jihadi” can conduct an attack, so UCE-2 “is

going, like that’s what he’s doing, but I know if you’re—if you still want to help

[UCE-2]— there’s things you can do to help [UCE-2].” SAID responded,

“Absolutely…Yeah, yeah, yeah, of course.” SAID stated that it was a



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“straightforward plan” and that UCE-2 should make sure to target the “big

building,” referencing the building SAID had identified at TACOM in November

2024 as part of his original plan to attack TACOM. SAID also offered to provide

ear protection, “Cause when you’re in a building, that shit [firing a weapon] is way

too loud” and to “make sure [UCE-2] has enough mags, enough ammo.” SAID

asked if UCE-2 has already bought bullets and UCE-1 said UCE-2 “has

everything.” SAID stated that “once [UCE-2] is in, that place is going to get

surrounded so it’s a one-way mission.” SAID also asked about what weapon UCE-

2 would use and UCE-1 responded that it would be the fully-automatic weapon

that they had discussed before. SAID recommended to UCE-1 that UCE-2

minimize using “full auto” and to make sure UCE-2 had a scope. SAID also

recommended that UCE-2 have at least 10 magazines.

      46.   SAID discussed the need for UCE-1 and SAID to be far away from

UCE-2 when UCE-2 conducted the attack, and suggested that they could have “the

drone on top” as “[UCE-2 is going to be walking in.” SAID and UCE-1 then

discussed a plan to have “the brothers” provide a phone that they could use to

communicate with UCE-2 the day of the attack, as they flew the drone overhead.

      47.   SAID then asked if UCE-2 was available that day, so they could go to

a firearms range and “make sure [UCE-2’s] shooting is on point.” SAID also said



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that he wanted to take UCE-2 to the range “Cause I want to make sure, you know,

cause if it jams, [UCE-2] doesn’t know how to clear it up.…So I wanna, I wanna

show [UCE-2] how to take a weapon apart.”

      48.   SAID then stated that once UCE-2 “starts going in, that’s when we

back away…This is gonna be really, really, big shit…Every organization in the US

is gonna be investigating.” UCE-1 stated, “…worst case scenario… I’m going to

be on the first plane to Syria” and SAID responded, “that makes two of us.”

      49.   SAID then discussed what “message” UCE-2 should include in a

video made by UCE-2 during the attack that would be released after the attack,

suggesting that UCE-2 should say that “we’re not targeting civilians or whatever.

We’re targeting military assets so that way they can’t use that, they can’t use

anything against us that will backfire.”

      50.   At one point in SAID’s meeting with UCE-1 on May 4, 2025, SAID

stated, “I just wanna like put the phones away, technology.…” before suggesting

that he and UCE-1 step outside the vehicle, away from their phones. Once they

stepped outside the vehicle, SAID told UCE-1 that he had just watched a video that

provided instructions on how to make gunpowder. UCE-1 said that “we don’t have

anybody here that could do it,” referencing gunpowder or other explosives, but that

“I think the best we were gonna do, like I said, was the Molotovs, like you showed



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us. [UCE-2] was gonna set them on fire, I think at the bottom floor so I think the

plan initially was right? [UCE-2] is going into the building. [UCE-2 is] gonna set

some parts of the- the- the building on fire, and force everybody to go down one

way. Where [UCE-2] can be at, and [UCE-2] can pick and choose the- the people’s

[UCE-2 is], you know…” SAID discussed again how to make Molotov cocktails

and said “…anything that’ll catch fire. Hopefully, it’ll catch fire.” UCE-1

suggested that it would be considered a successful attack if UCE-2 killed ten

“kuffar, ten of these people,” 8 to which SAID responded, “That- that’s good, but

ya know I’m- I’m hoping for a lot more.” UCE-1 reminded SAID once again that

he should not “feel obligated to do anything,” to which SAID responded, “No, I- I

wanna do this, you know?... I’m all for this.”

      51.      On May 8, 2025, SAID met UCE-1 and UCE-2 at a park in Dearborn,

Michigan. After SAID got into UCE-1’s car, where UCE-1 and UCE-2 were both

sitting, SAID asked UCE-2, “are you okay, what’s going through your head right

now.” UCE-1 indicated he/she wanted to give UCE-2 and SAID a chance to talk

since the attack plan was SAID’s plan. SAID stated: “I’m here for you. I got some




      8
          Kuffar translates generally to “infidel” or “non-believer.”

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of the stuff with me as well. [UCE-1] and I were talking, you know, how much

mags and ammo you had. What is the stuff you’re going to go with? You know,

kinda going over the plan and making sure you got everything you need over there

because the last thing we need is you over there, you know, running out of ammo

and just kinda standing there, you know.” UCE-2 informed SAID that he/she had

about 200 rounds of ammunition and six magazines, to which SAID replied: “I’ve

got some more with me.”

      52.   SAID, UCE-1 and UCE-2 then discussed that UCE-2 would wear a

GoPro camera to livestream footage of the attack to a known ISIS media platform.

SAID suggested that UCE-2 should mention Gaza and Palestine on the livestream,

stating: “I follow up with the media. I read the media. And, one thing I see

mentioned every time is the people who go against the dawlah [ISIS], they’re like,

why won’t the dawlah [ISIS] ever fight aside, why won’t they ever do anything for

Palestinian people. And so, we can use this as a publicist.”

      53.   SAID noted that because the attack would be on U.S. soil, they

needed to be very careful and, a short time later, SAID suggested that they surveil

the TACOM facility one more time. He stated: “if you want, we can go one more

time, and we can go over it. I brought the drone with me just so we can scout the

area one more time. Maybe it clears up your mind to have one final view of it.”



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SAID then retrieved a drone and other items from his car and the three individuals

drove toward the TACOM facility.

      54.    After reentering UCE-1’s vehicle, SAID gave seven rifle magazines to

UCE-2, three of which were loaded with armor-piercing ammunition. SAID

specifically pointed to the tip of the ammunition and stated: “do you see the green?

Armor piercing.” A still image from the video-recording of this interaction is

included below:




         [SAID pointing to the green tip, indicating the rounds are armor-piercing]

      55.    SAID then asked UCE-2 for UCE-2’s notebook and pen and he wrote

down the word “Molotov.” After UCE-1 indicated that he/she discarded the

Molotov cocktail components that SAID had previously purchased in November

2024, they agreed to purchase new Molotov supplies. SAID stated: “all it is, is

glass bottles.” SAID then drew a picture of a Molotov cocktail, labeled its

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components, and discussed how to properly throw the explosive/destructive device.

And, when UCE-2 wrote “[the name of an ingredient/component]?” on the

notepad, SAID stated that either (referring to one of two potential components)

would be effective. SAID also identified the recipe as “gas + [component],” which

SAID previously stated (during the November 15, 2024, meeting) would create a

Napalm like accelerant.

      56.   Later during the drive, SAID told UCE-1 that they should delete all of

their messages with each other and UCE-1 informed SAID that “the brothers”

would be sending two new phones for the attack. SAID indicated that the phones,

and their SIM cards, should be destroyed after the attack.

      57.    SAID stated that he still believed that the best entry point for the

attack was near the storage unit and UCE-1 showed SAID a spot, off a dirt road

near the TACOM facility, that he/she planned to go to support UCE-2 on the day

of the attack (because it had no surveillance cameras). SAID then suggested that he

could fly his drone over the TACOM facility during the attack “to kinda give you

[UCE-2] overwatch.”

      58.   UCE-2 asked what day would be good for the attack and SAID stated:

“probably Tuesday, Wednesday, something like that,” and the three agreed that the

attack would occur the following Tuesday, May 13, 2025. UCE-2 asked what time,



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and, after UCE-1 asked when the most people would be there, SAID stated,

“probably around this time [approximately 10:30 AM].”

      59.     UCE-1 then parked his/her vehicle in a parking lot near the TACOM

facility and SAID launched his drone, transmitting video of the TACOM facility to

his cellular telephone in the car. While flying his drone over the TACOM facility,

SAID showed UCE-2 all the significant points for the attack, including identifying:

      •       Where UCE-2 would enter the base (climbing over two fences that
              separated the storage unit from the TACOM facility—using a forested
              tree-lined border as cover) (see screenshot below);




          [SAID identifying the tree-lined fence line separating the storage unit from the base]

      •       The specific target building where the attack would occur (a large
              office building, at the end of the tree-lined fence line, were numerous


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         TACOM employees worked), even identifying the front door where
         UCE-2 would enter (see screenshots below); and




                          [SAID identifying the target building]




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           [SAID identifying the building’s front entrance where UCE-2 would enter]

    •    The route along the tree-lined fence line that UCE-2 would take to the
         target building (screenshot below).




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      60.    SAID told UCE-2 that he/she should dress in a military outfit on the

day of the attack so he/she would not stand out and commented on the large number

of people that would be in the building when UCE-2 attacked, stating: “look at how

many cars there is. This is all part of the military base. Look at how many people are

inside.”

      61.    SAID tried to teach UCE-1 how to fly the drone in case he (SAID)

could not be there Tuesday, as a “backup.” But, SAID thought that an approximate

10:00 AM attack time would be doable because he could call in late to work on

Tuesday and use work as “an alibi.”

      62.    SAID, UCE-1 and UCE-2 then departed the area and headed back

toward the park in Dearborn, Michigan. On the way back, SAID trained UCE-2

with respect to what he/she should do if his/her rifle jammed during the attack, and

told UCE-2 not to shoot his/her AR-15 in fully-automatic mode because he/she

would not shoot as accurately. SAID stated: “just in case you do have a jam, right,

with a jam, the way you clear it is, take the magazine out, push the button and take

the magazine out. Then hold the magazine in your hand and pull the grip. Cock it

back and shake it. So usually if there’s a jam, there will be bullets there, right. So

take out the magazine, pull it back, lock it back, put the magazine back in, and

shoot again. Try not to use full-automatic if you don't have to. It’s really hard to



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shoot full-auto and you’re not going to hit anything.” And, after describing how to

clear a jam, SAID played a video on his cellular phone about how to clear a jam.

      63.    SAID also told UCE-2 that he/she might want to alter his/her rounds,

one regular round and then one green-tipped armor piercing round. SAID stated:

“so with the rounds, with the rounds I brought, it’s a really good idea, have, go,

one green, one regular, one green, one regular. It’s better than finishing all the

shots with the green tip.” SAID also informed UCE-2 that his green-tipped armor-

piercing rounds could possibly pierce a law enforcement officer’s vest, stating,

“yeah, depending on what level their vest is, if it won’t go through, it will knock

them down.”

      64.   SAID then asked for the magazines that he gave UCE-2 and SAID

wiped them down with a piece of clothing, instructing UCE-2 to wipe off anything

he/she touched. SAID reiterated: “when you get there, take all the bullets out, then

one regular, one green, one regular, one green. Then wipe down the bullets as well

in case I touched it.”

      65.   Before arriving back at the park, UCE-1 stopped at a gas station.

SAID entered the gas station and purchased glass bottles for the Molotov cocktails.

SAID informed UCE-1 and UCE-2 that the gas station did not have any Styrofoam

but told UCE-2 that he/she could get Styrofoam anywhere. SAID also told UCE-2



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that he/she should not throw the Molotov cocktails on the ground if the floor was

carpeted because they would not break.

      66.   When they arrived back at the park, SAID placed his drone back in his

car and reentered UCE-1’s vehicle. SAID and the UCEs went over the attack plan

again, with SAID drawing a diagram in UCE-2’s notebook identifying the

TACOM facility (represented by a square), UCE-2’s entry point and the tree-lined

fence line (designated by a dot at the bottom, and a squiggly line identifying the

tree line), and the target building (designated by a smaller rectangle at the bottom

righthand corner). SAID also identified the open-air maintenance bays (designated

by upside down U’s) where TACOM’s Abrams tanks were located, and mapped

out a hallway, cautioning UCE-2 to stay in the hallway during the attack (versus

getting trapped in an office). A photograph of the map is included below.




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      67.    SAID also advised UCE-2 not to take out his/her ISIS flag until he/she

entered the building to conduct the attack, reasoning that he/she would risk being

spotted if he/she was displaying an ISIS flag. SAID stated: “The flag, I would say

don’t take out the flag until you’re in the building so you don’t get spotted with it.”

SAID then stated: “when you go into the building, you don’t want them to know

who is friend from foe. It gives you more targets. You’re wearing a military outfit.

If they see the flag, they know you are foe.”

      68.    SAID suggested that UCE-2 should remain on the first floor of the

building, deploy the Molotov cocktails to start a brief fire, and then shoot people as

they left the building since the first floor is the only exit. SAID also suggested that

UCE-2 might want to keep the armor-piercing bullets on one side of [UCE-2’s]

tactical vest and save those bullets for when law enforcement arrives, because law

enforcement will have vests. SAID remarked, “it’s going to be a firefight in there,

so get cover and don’t peek out too much, you know, try to stay low. If they try to

throw flash bangs, close your eyes and cover your ears.” And, SAID stated that if

law enforcement has shields, “shoot their legs.”

      69.    SAID and UCE-1 decided that they would wait four weeks after the

attack to contact one another.




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      70.   SAID and UCE-1 agreed that they would meet at the same park at

9:30 AM on the day of the attack, so it would look like SAID was leaving for work

(his stated alibi). SAID reiterated that UCE-2 should mention Gaza when

livestreaming the attack, explaining: “we want publicity as much as we want. The

publicity will do more damage than…what we’re going to be doing, you know,

cause it will win the hearts of the people. Cause this is not, you know, just an

attack. Cause taking down twenty people won’t, you know, destroy the U.S. Army.

It’s the symbol it represents. It’s the hearts of the people we win, you know?”

      71.   SAID acknowledged that this was the last time he would likely see

UCE-2. SAID told UCE-2 he loved him/her, said he would pray for him/her,

embraced him/her and left the vehicle.

      72.   On May 13, 2025, the day of the scheduled TACOM attack, SAID

was observed by law enforcement surveillance exiting his residence at

approximately 9:30 AM dressed in all black clothing. SAID entered his vehicle and

drove directly to the previously designated park in Dearborn, Michigan.

      73.   After arriving at the park, SAID exited his vehicle and entered UCE-

1’s vehicle. As planned, SAID brought his drone with him for aerial surveillance of

the TACOM facility before the attack.




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      74.   SAID and UCE-1 then drove to the TACOM facility as planned.

Approximately ten minutes before arriving near TACOM, UCE-1 called UCE-2

and let UCE-2 know that UCE-1 and SAID would be arriving soon. SAID and

UCE-1 ultimately arrived at the location they previously designated near TACOM

and parked their vehicle. UCE-1 then called UCE-2 and let him/her know that they

arrived and SAID launched his drone for purposes of aerial surveillance before the

attack. Law enforcement arrested SAID shortly after he launched the drone. At the

time of SAID’s arrest, UCE-1 was still on the phone with UCE-2.

                  [remainder of page intentionally left blank]




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                               CONCLUSION
      75.   Based on the information above, there is probable cause to believe

that, within the Eastern District of Michigan, SAID violated 18 U.S.C. §

2339B(a)(1), attempting to provide material support and resources to a designated

FTO, ISIS; and 18 U.S.C. § 842(p)(2), distributing information related to a

destructive device/explosive, i.e., a Molotov cocktail containing certain

components to a person knowing and intending that such person intended to use

the information for and in furtherance of a federal crime of violence.




                               _________________________________
                               MICHAEL WAGNER, SPECIAL AGENT
                               FEDERAL BUREAU OF INVESTIGATION


Subscribed and sworn to before me in my
presence and/or by reliable electronic means.


___________________________________
THE HONORABLE ELIZABETH STAFFORD
UNITED STATED MAGISTRATE JUDGE
EASTERN DISTRICT OF MICHIGAN




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